                       UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION




In the Matter of:                              }
                                               }
                                               }
Martin J. Smith                                }   Case No. 14-80263-CRJ-11
SSN: XXX-XX-4349                               }
Lauri B. Smith                                 }   Chapter 11
SSN: XXX-XX-7886                               }
                                               }
                                               }
                                Debtor(s)      }

                                ORDER REOPENING CASE

       This matter came before the Court for hearing on June 3, 2019, on the Debtors’ Request
to Reopen Chapter 11 Case to allow the Debtor to file a Motion to Modify Chapter 11 Plan. For
good cause shown, the Court finds that this case should be reopened, and it is hereby

       ORDERED, ADJUDGED and DECREED that the Debtors’ Request to Reopen Chapter
11 Case is hereby APPROVED and the above styled case is reopened.

        It is FURTHER ORDERED that the fee for reopening this case be and hereby is remitted
to the Clerk of the U.S. Bankruptcy Court.

       Dated this the 5th day of June, 2019.

                                                   /s/ Clifton R. Jessup, Jr.
                                                   Clifton R. Jessup, Jr.
                                                   United States Bankruptcy Judge




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